 

FILED
April 12, 2010

CLERK, U.S. BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFOR.NIA

 

 

 

 

 

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EASTERN D|STR|CT OF CAL|FORN|A
C|V|L |Vl|NUTE ORDER

Case Title : Kenneth Emil Valle Case No : 10-24566 - B - 7

Date : 4/6/10

Time : 09:31
lVlatter: [19] - l\/lotion/Application for Re|ief from Stay[RDN-1] Filed by Creditor U.S. Bank

National Association (Fee Paid $150) (dpas)

Judge : Thomas Holman
Courtroom Deputy : Sheryl Arnold
Reporter : Diamond Reporters
Department : B
APPEARANCES for :
lVlovant(s) :

Creditor's Attorney - Carl l\/landabach
Respondent(s) :
Debtor(s) Attorney - Leland l\/loglen - specially appeared

 

C|V|L |\/||NUTE ORDER

Findings of fact and/or conclusions of law are appended to the civil minutes and good cause appearing.

lT lS ORDERED that the motion is granted in part. The automatic stay is modified as against the estate and
the debtors pursuant to 11 U.S.C. § 362 (d)(1) in order to permit the movant to foreclose on the real
property located at 764 Greentree Circle, Fairfield, CA 94534 (APN 0180-382-010) ("Property") and to
obtain possession of the Property following the sale, all in accordance With applicable non-bankruptcy laW.
The 14-day stay of Fed.R.Bankr.P. 4001(a)(3) is not Waived. Except as so ordered, the motion is denied.

made April 12, 2010

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